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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


  ALAN BROWN, ET AL.                               CIVIL ACTION

  VERSUS                                           NO: 14-813

  REGIONS INSURANCE, INC.,                         SECTION: “J”(5)
  ET AL.

                               ORDER & REASONS

       Before the Court are two motions. First is a Motion to Exclude

the   Testimony    of    Dr.   Lar   Reinhart   (Rec.   Doc.   54)   filed   by

Plaintiffs and an opposition thereto (Rec. Doc. 57) filed by

Defendants. Second is a Motion to Exclude Testimony of Prior

Arrests and Convictions (Rec. Doc. 52) and an opposition thereto

filed by Defendants (Rec. Doc. 58.) Having considered the motions

and legal memoranda, the record, and the applicable law, the Court

finds that the motions should be GRANTED.

                     FACTS AND PROCEDURAL BACKGROUND

        This litigation arises from a car collision that occurred on

April 30, 2013. Defendant Robert Bird was driving an eighteen-

wheeler when he collided with Plaintiffs’ vehicle. Plaintiffs

allege that the accident caused injuries which required them to

undergo spinal surgeries. On August 9, 2016, Plaintiffs filed the

motions now before the Court. (Rec. Docs. 52, 54.) Plaintiffs ask

this Court to exclude the testimony of Defendants’ “accident

reconstruction expert” Dr. Lars Reinhart. (Rec. Doc. 54.) Further,
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Plaintiffs ask this Court to prevent Defendants from presenting

any evidence of Plaintiffs’ prior arrests or criminal convictions.

(Rec. Doc. 52.) The motions are now before the Court on the briefs

and without oral argument.

                                 PARTIES’ ARGUMENTS

        1. Dr. Lars Reinhart

            Plaintiffs       argue     that   the   Court   should   exclude    the

testimony of Dr. Lars Reinhart. (Rec. Docs. 54, 63.) Plaintiffs

argue   that    Dr.    Reinhart’s      testimony    is   unreliable,    based     on

insufficient facts and data, and will only serve to confuse the

jury. (Rec. Doc. 54 at 2.) Finally, Plaintiffs argue that any

medical opinions offered by Dr. Reinhart are cumulative, because

Defendants     will    present       testimony   from    Dr.   Najeeb   Thomas,    a

neurosurgeon who performed an independent medical examination of

the Plaintiffs and will testify as to causation.

            Defendants seek to present evidence from Dr. Reinhart to

“assist the factfinder in determining whether the Plaintiffs could

have been injured so severely” in the accident at issue. (Rec.

Doc. 57 at 2.) Defendants argue that as a certified Accident

Reconstructionist          and   a   licensed    physician,    Dr.   Reinhart     is

qualified to render an opinion as to the cause of Plaintiffs’

injuries. Id. at 5. Defendants argue that the methodology by which

Dr. Reinhart reached his conclusion as to Plaintiffs’ injuries is

reliable.      Id.    at    7-15.    Finally,    Defendants     argue   that    Dr.

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Reinhart’s testimony is not cumulative and will assist the fact-

finder in determining whether the impact of the collision was

capable of causing Plaintiffs’ injuries. Id. at 13-14.

          2. Evidence of Prior Arrests or Convictions

       Plaintiffs seek to exclude any evidence of their prior arrests

or convictions from being presented as impeachment evidence at

trial. (Rec. Doc. 52.) Plaintiffs argue that the arrests and

convictions are not relevant to this case. Further, Plaintiffs

argue    that   the    evidence’s      prejudicial          effect    outweighs     any

potential probative value. Finally, Plaintiffs argue that many of

the   convictions     Defendants      seek     to    introduce       are   not   felony

convictions and others occurred more than ten years ago.

       Defendants     argue    that        evidence        of    Plaintiffs’      prior

convictions is relevant and admissible. Specifically, Defendants

argue    that   Plaintiffs      were       untruthful       in    their    deposition

testimony when asked if they had been convicted or arrested in the

past.    Defendants    now    seek    to    use     this    untruthful     deposition

testimony to impeach Plaintiffs’ credibility. (Rec. Doc. 58 at 2.)



                                LEGAL STANDARD

          1.        Federal Rule of Evidence 702

Louisiana Code of Evidence Article 702 mirrors Federal Rule of

Evidence Rule 702’s provisions on the admissibility of expert

witness testimony. La. Code Evid. Ann. Art. 702, Official Comment

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B; Fed. R. Evid. 702; see also U.S. v. Hitt, 473 F.3d 146, 158

(5th Cir. 2006). Federal Rule of Evidence 702 provides that a

witness who is qualified as an expert may testify if: (1) the

expert’s “specialized knowledge will help the trier of fact to

understand the evidence or to determine a fact in issue”; (2) the

expert’s testimony “is based on sufficient facts or data”; (3) the

expert’s testimony “is the product of reliable principles and

methods”; and (4) the principles and methods employed by the expert

have been reliably applied to the facts of the case. Fed. R. Evid.

702. The United States Supreme Court’s decision in Daubert v.

Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), provides

the analytical framework for determining whether expert testimony

is admissible under Rule 702. Both scientific and nonscientific

expert testimony are subject to the Daubert framework, which

requires trial courts to make a preliminary assessment of “whether

the expert testimony is both reliable and relevant.” Burleson v.

Tex. Dep't of Criminal Justice, 393 F.3d 577, 584 (5th Cir. 2004);

see also Kumho Tire Co. v. Carmichael, 526 U.S. 137, 147 (1999).

When expert testimony is challenged under Daubert, the party

offering the expert’s testimony bears the burden of proving its

reliability and relevance by a preponderance of the evidence. Moore

v. Ashland Chem. Co., 151 F.3d 269, 276 (5th Cir. 1998).




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     The   reliability    of   expert   testimony   “is   determined     by

assessing whether the reasoning or methodology underlying the

testimony is scientifically valid.” Knight v. Kirby Inland Marine

Inc., 482 F.3d 347, 352 (5th Cir. 2007). A number of nonexclusive

factors may be relevant to the reliability analysis, including:

(1) whether the technique at issue has been tested; (2) whether

the technique has been subjected to peer review and publication;

(3) the potential error rate; (4) the existence and maintenance of

standards controlling the technique's operation; and (5) whether

the technique is generally accepted in the relevant scientific

community. Burleson, 393 F.3d at 584. The reliability inquiry must

remain flexible, however, as “not every Daubert factor will be

applicable in every situation; and a court has discretion to

consider other factors it deems relevant.” Guy v. Crown Equip.

Corp., 394 F.3d 320, 325 (5th Cir. 2004); see also Runnels v. Tex.

Children's Hosp. Select Plan, 167 F. App'x 377, 381 (5th Cir. 2006)

(“[A] trial judge has considerable leeway in determining how to

test an expert’s reliability.”).

     With respect to the relevancy prong, the proposed expert

testimony must be relevant “not simply in the way all testimony

must be relevant [pursuant to Rule 402], but also in the sense

that the expert’s proposed opinion would assist the trier of fact

to understand or determine a fact in issue.”        Bocanegra v. Vicmar

Servs., Inc., 320 F.3d 581, 584 (5th Cir. 2003). Ultimately, a

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court should not allow its “gatekeeper” role to supersede the

traditional adversary system or the jury’s place within that

system.    Scordill v. Louisville Ladder Group, L.L.C., No. 02-2565,

2003 WL 22427981 at *3 (E.D. La. Oct. 24, 2003). As the Supreme

Court has     noted,    “vigorous     cross-examination,         presentation    of

contrary evidence, and careful instruction on the burden of proof

are the traditional and appropriate means of attacking shaky but

admissible       evidence.”   Daubert,       509   U.S.   at     596.   Generally,

questions relating to the basis and sources of an expert’s opinion

rather    than    its   admissibility    should     be    left   for    the   jury’s

consideration. United States v. 14.38 Acres of Land, 80 F.3d 1074,

1077 (5th Cir. 1996) (citing Viterbo v. Dow Chemical Co., 826 F.2d

420, 422 (5th Cir. 1987)).

          2. Federal Rule of Evidence 609

Federal Rule of Evidence 609 governs the use of prior criminal

convictions for impeachment purposes. See Fed. R. Evid. 609. Rule

609(a)(1) of the Federal Rules of Evidence provides that a criminal

conviction may be used to impeach the truthfulness of a witness’

character, subject to Rule 403, if the crime was punishable by

more than one year imprisonment. Rule 609(a)(2) provides that any

criminal conviction may be used to impeach the truthfulness of a

witness’     character     “if   it   readily      can    be     determined    that

establishing the elements of the crime required proof or admission

of an act of dishonest or false statement by the witness.” Fed. R.

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Evid. 609(a)(2). Crimes involving dishonesty or false statements

include crimes such as perjury, criminal fraud, embezzlement, or

any     other         offense     involving        some       element    of     deceit,

untruthfulness, or falsification. Fed. R. Evid. 609, advisory

committee’s note to 1974 enactment.

       Rule 609(b) limits the use of prior criminal convictions “if

more than 10 years have passed since the witness’s conviction or

release from confinement for it, whichever is later.” Fed. R. Evid.

609(b).    If    more     than    10   years     have    passed,    evidence    of   the

conviction       is    only     admissible       if:    (1)   its   probative   value,

supported       by    specific    facts   and      circumstances,       substantially

outweighs its prejudicial effect; and (2) the proponent gives an

adverse party reasonable written notice of the intent to use it so

that the party has a fair opportunity to contest it. Fed. R. Evid.

609(b)(1)-(2). For convictions more than 10 years old, “[t]he

general rule is inadmissibility.” United States v. Hamilton, 48

F.3d 149, 154 (5th Cir. 1995) (citing United States v. Estes, 994

F.2d 147, 149 (5th Cir. 1993)). The Fifth Circuit has interpreted

Rule 609(b) to mean that “the probative value of a conviction more

than 10 years old is by definition outweighed by its prejudicial

effect.” Id. “Convictions should be admitted under Rule 609(b)

‘very rarely and only in exceptional circumstances.’” Jordan v.

Ensco Offshore Co., No. 15-1226, 2016 WL 2864380, at *1 (E.D. La.



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May 16, 2016) (quoting McIntyre v. Bud’s Boat Rentals, LLC, No.

02-1623, 2003 WL 22174236, at *3 (E.D. La. Sept. 9, 2003)).

                                     DISCUSSION

       1.     Dr. Lars Reinhart

       Upon   review      of   the   reports,    qualifications,    and   stated

methodologies of Dr. Reinhart, and in light of the applicable law,

the   Court    is   not   satisfied    that     Dr.   Reinhart’s   testimony   is

sufficiently reliable for him to properly opine on the nature of

the collision in this case. Specifically, Dr. Reinhart’s expert

testimony as to the nature of the collision is inadmissible,

because it is unreliable, based on insufficient facts and data,

and unhelpful to the trier of fact. Dr. Reinhart did not inspect

the vehicles involved in this accident and relied upon prior

testing and studies that were performed on different model vehicles

that were involved in a different accident than in that in this

case. Further, Dr. Reinhart admits that the methodology by which

he reached his conclusion was not peer-reviewed. (Rec. Doc. 54-2

at 94.) Moreover, Dr. Reinhart’s opinion will not assist the trier

of fact, but rather will likely confuse the jury or cloud its

common sense fact-finding role. See U.S. v. Wiley, 57 F.3d 1374,

1389 (5th Cir. 1999); Scineaux v. Empire Fire and Marine Ins. Co.,

No. 03-2947, 2005 WL 2050281, at *2 (E.D. La. Aug. 9, 2005).

Consequently, Dr. Reinhart is not permitted to provide testimony

as to the nature of the collision in this case. See Oaks v.

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Westfield Ins. Co., No. 13-1637, 2014 WL 198161, at *2 (E.D. La.

Jan. 16, 2014) (excluding biomechanical expert where expert failed

to reconstruct the exact accident at issue).

       The Court also finds that Dr. Reinhart’s proposed medical

causation    testimony    is   unreliable,        because   it   is   based   upon

insufficient facts and data. Despite rendering a medical causation

opinion, Dr. Reinhart did not review any of the Plaintiff’s imaging

studies to see if the imaging corroborated the radiologist reports

or the Plaintiffs’ doctor’s opinions. (Rec. Doc. 54-2 at 4.) In

fact, Dr. Reinhart admits that “there were some implications made

by the radiologist’s reading that were potentially suggestive of

injuries. . . .” Id. at 6. Further, Dr. Reinhart did not perform

a physical examination on any of the Plaintiffs in this case. Thus,

Dr.    Reinhart    proposes    to   offer     contrary      testimony    to   the

radiologist who has reviewed the medical imaging when he himself

has    not   reviewed    the   imaging      nor    physically     examined    the

Plaintiffs. Id. at 5. Consequently, this Court is not satisfied

that Dr. Reinhart’s proposed testimony is based on sufficient facts

or data nor the product of reliable principles or methods. See

Oaks, 2014 WL 198161, at *2 (finding medical causation opinion

unreliable because, inter alia, expert did not personally examine

the plaintiff). Accordingly, Dr. Reinhart is not permitted to

testify as to the medical causation of Plaintiffs’ injuries.



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     2.      Evidence of Prior Arrests or Convictions

             a.   Gerard Hines

     Mr. Hines has been convicted of three felonies within the

last twenty-one years. In 1995, and again in 2003, Mr. Hines was

convicted of possession of cocaine. Most recently, Mr. Hines was

convicted in 2015 of possession of heroin with the intent to

distribute. Mr. Hines has also been convicted of two misdemeanors,

once in 2013 and another in 2015. Plaintiffs argue that Defendants

are not permitted to present evidence of Mr. Hines’ 1995 and 2003

felony convictions nor his misdemeanor convictions. (Rec. Doc. 62

at 1.) As to Mr. Hines’ 2015 felony conviction, Plaintiffs have

unilaterally agreed to stipulate that they will not seek the costs

associated    with   Mr.   Hines’   future   medical   care   if   the   Court

prohibits Defendants from producing evidence of his conviction and

sentence. (Rec. Doc. 62 at 3.) Plaintiffs also argue that Mr.

Hines’ traffic tickets and crimes for which he was not convicted

must be excluded. Defendants argue that Mr. Hines’ 1995 and 2003

felony convictions are admissible, because when asked if he had

been previously convicted of a crime, Mr. Hines denied that he had

been previously convicted. (Rec. Doc. 58 at 5.) Further, Defendants

argue that Mr. Hines’ more recent conviction is admissible under

Rule 609 and relevant for Plaintiffs’ future medical needs because

he will be incarcerated for the next ten years. Id. at 6.



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      For convictions more than 10 years old, “[t]he general rule

is inadmissibility.” Hamilton, 48 F.3d at 154. “Convictions should

be admitted under Rule 609(b) ‘very rarely and only in exceptional

circumstances.’” Jordan, 2016 WL 2864380, at *1 (quoting McIntyre,

2003 WL 22174236, at *3). As to Mr. Hines’ 1995, 2003, and 2015

felony      convictions     and     previous      misdemeanor          convictions,

Defendants have not shown that “exceptional circumstances” exist

in   this   case.    The   probative      value   of     these    convictions     is

substantially outweighed by their prejudicial effect. Fed. R.

Evid. 609(b)(1); see Tate v. Union Oil Co. of California, 968 F.

Supp. 308 (E.D. La. 1997). However, Plaintiff has unilaterally

stipulated that it will not present any evidence of Mr. Hines’

future medical care costs if Defendant is prohibited from producing

evidence of Mr. Hines’ 2015 conviction. (Rec. Doc. 62 at 3.)

Accordingly,      Defendants      may   not    present    any    evidence    as   to

aforementioned      convictions     and    Plaintiff     may     not   present    any

evidence as to Mr. Hines’ future medical care costs. 1

             b.     Alan Brown

      Mr. Brown has pleaded guilty to four crimes over the past

twenty-six years. (Rec. Doc. 52-1 at 3.) These crimes include

possession of stolen property, theft of goods under $100, illegal



1 Plaintiffs also seek to exclude evidence of Mr. Hines’ traffic tickets.
Defendants did not respond to this argument, nor have Defendants suggested that
they intend to present such evidence. Accordingly, Defendants may not present
any evidence of Mr. Hines’ traffic tickets.

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use of a weapon, and simple burglary of a vehicle. Id. Plaintiffs

do not provide whether any of the crimes were felony convictions.

However, none of the convictions occurred within the last ten

years. Defendants argue that when asked how many times he had been

convicted in the past, Mr. Brown answered untruthfully.                  (Rec.

Doc. 58 at 7.) Defendants argue that because Mr. Brown did not

answer truthfully that this meets the “exceptional circumstances”

which merit the admission of Mr. Brown’s prior convictions to

attack his credibility. Defendants do not cite to any cases in

support of this argument. Defendants have not shown “exceptional

circumstances” exist in this case to overcome the presumption that

convictions more than 10 years old are inadmissible. Hamilton, 48

F.3d at 154. Further, the potential probative value of presenting

evidence of these convictions is substantially outweighed by their

prejudicial        effect.   Fed.   R.    Evid.     609(b)(1).    Accordingly,

Defendants are not permitted to present evidence as to Mr. Brown’s

prior convictions. Moreover, to the extent that Defendants attempt

to introduce evidence of Mr. Brown’s prior arrests which did not

result   in    a   conviction,   this    evidence    is   also   excluded.   See

Bergeron v. Great West Casualty Co., 2015 WL 3505091, at *5 (E.D.

La. June 3, 2015).

              c.    Jennifer Jordan

     Defendants seek to introduce two misdemeanor offenses—a 2003

guilty plea to theft of goods less than $100 and a 2014 guilty

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plea to the unlawful sale of alcohol to a minor. (Rec. Doc. 58 at

7.) Defendants argue that Ms. Jordan was asked if she had ever

been convicted of a criminal offense and responded, “No, sir.” Id.

Defendants again argue that this untruthful statement constitutes

“exceptional circumstances” which permits Defendant to attack Ms.

Jordan’s credibility. Ms. Jordan’s 2014 misdemeanor is not a felony

conviction under Rule 609(a)(1) and does not involve dishonesty or

false statements under Rule 609(a)(2). Accordingly, Defendants are

not    permitted   to   introduce   evidence     as   to    Ms.   Jordan’s   2014

misdemeanor. Further, Ms. Jordan’s 2003 misdemeanor occurred over

10 years ago. Defendants have not shown that its probative value

outweighs it prejudicial effect. Therefore, Defendants are not

permitted     to   introduce    evidence    as    to       Ms.    Jordan’s   2003

misdemeanor.




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                                  CONCLUSION

     Accordingly,

     IT IS HEREBY ORDERED that Plaintiff’s Motion to Exclude the

Testimony of Dr. Lars Reinhart (Rec. Doc. 54) is GRANTED.

     IT IS FURTHER ORDERED that Plaintiffs’ Motion to Exclude

Evidence   of   Prior   Arrests    and   Convictions   (Rec.   Doc.   52)   is

GRANTED, as stated more fully above.

     New Orleans, Louisiana, this 7th day of September, 2016.




                                    CARL J. BARBIER
                                    UNITED STATES DISTRICT JUDGE




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